                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                          Inmate: 595980 - SALINAS-LEAL, EDGAR I.

                   ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                      ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

   Received Date         Complaint Number         Subject              Brief Summary
     10/27/2016          WCI-2016-23434          7 - Personal          Complains regarding contraband photos
                                                 Property
     01/31/2020          WCI-2020-1987           3 - Discipline        ***Complains related to contraband/evidence for Conduct
                                                                       Report 73273.
     11/27/2023          WCI-2023-17813          8 - Rules             complains regarding the suspension of visits

                                                      *** End of Report ***




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                                                      ** ICRS CONFIDENTIAL **


                                                                           EXHIBIT
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